       Case 3:22-cv-01005-BAJ-SDJ           Document 18-2       01/09/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

ALICIA R. DIXON AND                    * CIVIL ACTION NO.: 3:22-CV-01005
WEST J. DIXON                          *
                                       * DISTRICT JUDGE:
VERSUS                                 *        BRIAN A. JACKSON
                                       *
D.R. HORTON, INC.-GULF COAST;          * MAGISTRATE JUDGE:
BELL MECHANICAL SERVICES; AND *                 SCOTT D. JOHNSON
BELL MECHANICAL HOLDINGS, LLC *
                                       *
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                                   ORDER

       Considering Ex Parte Motion for Leave to File Memorandum in Support of Motion to

Remand in Excess of the Page Limitation Motion, filed by the Plaintiffs, Alicia R. Dixon and West

J. Dixon,

       IT IS HEREBY ORDERED that Plaintiffs’ Ex Parte Motion for Leave to File

Memorandum in Support of Motion to Remand in Excess of the Page Limitation is GRANTED.

       IT IS FURTHER ORDERED that the Plaintiffs’ Memorandum in Support of Motion to

Remand shall be deemed FILED of record as of this date.

       Baton Rouge, Louisiana, this ______ day of January 2023.



                       ________________________________________
                        UNITED STATES DISTRICT COURT JUDGE
                           MIDDLE DISTRICT OF LOUISIANA




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